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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                                      )
UNITED STATES OF AMERICA, et al,      )
                                      )
     Plaintiffs,                      )
                                      )
v.                                    )
                                      )
JETBLUE AIRWAYS CORPORATION and       ) Civil Action No. 1:23-cv-10511-WGY
SPIRIT AIRLINES, INC.,                )
                                      )
     Defendants,                      )
                                      )
                                      )
                                      )
                                      )
                                      )

DEFENDANT JETBLUE AIRWAYS CORPORATION AND SPIRIT AIRLINES, INC.’S
MEMORANDUM OF LAW IN FURTHER SUPPORT OF THEIR MOTION IN LIMINE
  TO ESTOP THE DEPARTMENT OF JUSTICE FROM TAKING INCONSISTENT
              POSITIONS AND TO OVERRULE OBJECTIONS
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       Less than one year ago in a case involving the same parties in the same courthouse, DOJ

made specific factual assertions about JetBlue and its unique role in the airline industry that led

the Court to rule in its favor. Contrary to the straw man of DOJ’s Opposition, Defendants do not

assert that it would be “inconsistent to oppose any acquisition by JetBlue” or move for judgment

as a matter law. Opp. at 8. 1 Defendants simply ask this Court to accept those same factual

assertions DOJ made in one case, not one year ago, as conclusively true here, and to estop DOJ

from seeking to prove at trial “facts” and a “coordination” theory that are directly contradictory.

       DOJ now claims there are no “meaningful inconsistencies” between its assertions in the

NEA Case and here. Opp. at 2 (emphasis added). But the Opposition highlights DOJ’s about

face. For example, in the NEA Case, DOJ asserted that JetBlue is “unique among low-cost

airlines” and its “high quality of service allowed it to compete effectively against the legacy

airlines in ways other LCCs and ULCCs could not.” Plaintiffs’ Proposed Findings of Fact at 6,

¶ 27, NEA Case (Dec. 2, 2022), ECF No. 332 (“NEA Proposed FOF”). In support, DOJ touted

testimony from JetBlue’s CEO that “when JetBlue flies a market, competitors react more broadly

than when a ULCC flies the market, because JetBlue is flying a broader set of customers than

ULCCs.” Id. ¶ 27. Now, DOJ asserts that it is Spirit that is “unique,” Opp. at 3, that Spirit’s

disruptive effect in the industry outweighs JetBlue’s, and, according to its economist, that DOJ’s

prior assertions about JetBlue’s unique quality and disciplining effect are untrue. See Opp. at 3;

Decl. of Ryan A. Shores in Support of Defendants’ Motion, Ex. A 90:4–6 , ECF No. 170

(“Gowrisankaran Dep. Tr., Ex. A”) (“[A]s to whether JetBlue has differentiated itself by high

quality, that’s not something I would agree with.”).



1
  Plaintiff’s Opposition to Defendants’ Motion in Limine to Estop the Department of Justice
from Taking Inconsistent Positions and to Overrule Objections at 8 (Sept. 20, 2023), ECF No.
199 (“Opposition” or “Opp.”).


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         There is simply no way to square DOJ’s contradictory assertions between the NEA Case

and this one. The Court should estop DOJ from contradicting itself and overrule DOJ’s

objections to the admissibility of its statements from the NEA Case.

    I.   NONE OF DOJ’S ATTEMPTS TO EXPLAIN AWAY ITS CONTRADICTIONS
         BASED ON “FACTS AND CIRCUMSTANCES” HOLD UP TO SCRUTINY

         In attempting to show there are no “meaningful” inconsistencies between the NEA Case

and here, Opp. at 2, DOJ points to supposed distinctions between the NEA Case and this one. As

described below, 2 none of these supposed distinctions undo DOJ’s contradictions.

         Adopting DOJ’s proposed factual findings, Judge Sorokin found JetBlue’s supposedly

evolving business model had no impact on JetBlue’s “maverick” status. DOJ justifies its

newfound view that the “JetBlue Effect” is fading and JetBlue is a coordinator (not a disruptive

maverick) by pointing to alleged changes to its business model, making it more like a legacy

carrier (or “GNC”). See, e.g., Opp. at 9 (“JetBlue’s cost structure was looking more like that of a

legacy carrier[.]”). But adopting DOJ’s position in NEA, Judge Sorokin found the opposite:

         The parties all agree, and the Court finds, that JetBlue has played a unique role in
         the domestic air travel industry and qualifies as a ‘maverick’ competitor for
         present purposes. E.g., Trial Tr. vol. 1 at 250. The Court finds JetBlue occupied
         such a role regardless of whether it remained an LCC or had migrated to a hybrid
         form somewhere between a traditional LCC and a GNC. In either event, it was
         justifiably viewed by others—and it indisputably viewed itself—as a unique and
         disruptive force in the domestic air travel market. 3

Indeed, if the JetBlue Effect was fading, and JetBlue was at risk of ditching its maverick role due

to an evolving business model, then DOJ’s position in the NEA Case would have made no

sense—fundamentally, the NEA Case rested on a concern about the potential loss of JetBlue’s



2
  Appendix A provides a fuller list of DOJ’s prior statements that contradict DOJ’s positions
here.
3
  United States v. Am. Airlines Grp. Inc., No. 21-11558, 2023 WL 3560430, at *34 n.81 (D.
Mass. May 19, 2023).


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maverick status through a partnership with a legacy airline. That is why DOJ portrayed the

JetBlue Effect as a continuing, powerful force that disciplined the legacy carriers, and asked the

Court to let the “fight” between JetBlue and the legacies continue. 4 And that is why DOJ offered

direct, unqualified expert testimony that “JetBlue is a maverick”—a finding adopted by the

Court. Decl. of Ryan A. Shores in Support of Defendants’ Reply (“Shores Reply Decl.”), Ex. B

(Trial Tr. Day 9, NEA Case, 111:8) (testimony of Dr. Town).

       DOJ’s NEA statements were not limited to the business context. DOJ next tries to cabin

its prior statements about JetBlue’s competitive impact and maverick status to first-class and

corporate customers. Opp. at 13 (claiming the NEA Case “focused on how JetBlue’s

differentiated offerings, such as its business-class product, Mint, allowed JetBlue to compete

with legacy airlines for first-class and corporate customers who low-cost airlines are normally

not well-suited to serve”). To the contrary, DOJ argued to Judge Sorokin that “JetBlue competed

successfully for both business and leisure passengers.” NEA Proposed FOF at 8.

       DOJ also touted how JetBlue’s disciplining effect on legacy carriers benefitted all

consumers. For example, DOJ asserted: “American’s documents confirm that JetBlue

constrained the pricing of legacy airlines. In May 2019, American attempted a system-wide price

increase, but ultimately reversed the attempted price increase in markets where JetBlue competed

against American nonstop and did not increase its prices. In the same month, when American

attempted another system-wide price increase, JetBlue did not increase some of its prices,

causing American to lower prices in markets in which it competed with JetBlue.” NEA




4
 As DOJ’s counsel argued in his opening: “And it didn’t have to be this way, Your Honor. They
could have continued to fight, and they could have continued that head-to-head competition that
had been ongoing[.]” Shores Reply Decl., Ex. C (Trial Tr. Day 1, NEA Case, 9:1–5) (“DOJ
NEA Opening Statement”).


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Proposed FOF ¶ 33 (citations omitted). In addition, DOJ highlighted how “[c]ompetition from

JetBlue resulted in legacy airlines reducing ancillary fees.” Id. ¶ 39 (“Competition from JetBlue

resulted in legacy airlines reducing ancillary fees. In June 2020, JetBlue initiated $0 change

fees—which Delta and United matched—leading American’s Vice President of Revenue

Management Jim Fox to note, ‘We don’t really have a choice but to match.’”).

       DOJ touted the JetBlue Effect as a unique force that constrains rivals more strongly

than Spirit; now, it argues the opposite. DOJ claims that its current focus on the loss of Spirit

as a competitor excuses its contradictions. Indeed, it is now apparent that DOJ will argue that

Spirit, not JetBlue, more effectively disciplines other airlines. See Opp. at 8 (“Dr.

Gowrisankaran quantified both the JetBlue Effect and the Spirit Effect in calculating net

harm[.]”); id. at 9 (“Dr. Gowrisankaran will show, however, that replacing Spirit with JetBlue

will result in a net harm for consumers[.]”).

       That flatly contradicts DOJ’s position in the NEA Case. From beginning to end in the

NEA Case, DOJ repeatedly touted the uniquely disruptive impact of JetBlue compared to other

carriers, including ULCCs like Spirit. See Compl. at 2, NEA Case (Sept. 21, 2021), ECF No. 1

(“NEA Compl.”); NEA Proposed FOF ¶ 27 (quoting JetBlue CEO, “[W]hen JetBlue flies a

market, competitors react more broadly than when a ULCC flies the market, because JetBlue is

flying a broader set of customers than ULCCs.”); DOJ NEA Opening Statement 11:12–20 (“For

starters, there’s no dispute that JetBlue has been a unique competitive force in the airline

industry.”).

       Indeed, a cornerstone of the case was that “[t]ravelers benefited from the JetBlue Effect

whether or not they flew JetBlue.” NEA Proposed FOF ¶ 53; see also, e.g., id. at 12 (“The

JetBlue Effect produces lower prices and higher quality service on routes where JetBlue




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competes.”). DOJ asserted that “the JetBlue Effect ranges from 114 percent to 14 percent.”

NEA Proposed FOF ¶ 343. DOJ also cited enormous headline drops in fares from the JetBlue

Effect on individual routes, such as BOS-LGA (69% fall in walkup fares), BOS-DCA (65% fall

in walkup fares), BOS-Minneapolis-St. Paul (38% fall in walkup fares), BOS-BUF (50% fall in

all fares), BOS-EWR (54% fall in all fares), BOS-CLE (53% fall in all fares), BOS-DTW (35%

fall in all fares), JFK-RIC (65% fall in all fares), JFK-PIT (75% fall in all fares), and BOS-LON

(50–60% fall in all fares). NEA Proposed FOF ¶¶ 49, 169, 170, 207, 251. DOJ also urged the

court to adopt the defendants’ estimate of 20–21% for the average JetBlue Effect. NEA

Proposed FOF ¶ 343. Yet, as those estimates are inconvenient for this case, DOJ offers Dr.

Gowrisankaran’s alternative estimates, finding that the average JetBlue Effect is either 13.7% or

17.9%, depending on which of his models is used. Decl. of Elizabeth M. Wright in Support of

Defendants’ Motion in Limine to Exclude Opinions of Dr. Tasneem Chipty, ECF No. 184-4.

       DOJ’s economic expert in the NEA Case, Dr. Miller, also doubted Spirit’s ability to

replace the JetBlue Effect. Dr. Miller opined that “diversion to Spirit” would be “inadequate to

discipline and decrease market power” among the carriers operating in New York City. Shores

Reply Decl., Ex. D (Trial Tr. Day 10, NEA Case, 228:3–7) (Dr. Miller testimony); see also

Plaintiffs’ Post-Trial Brief at 37, NEA Case (Dec. 2, 2022), ECF No. 333 (“NEA Post-Trial

Brief”) (“Although other LCCs and ULCCs compete by offering lower prices, they do not have a

premium business product like Mint, or comparable high-quality coach service.”). It is no

wonder, then, why DOJ did not retain Dr. Miller again in this case, instead choosing a new

expert—Dr. Gowrisankaran—to walk back from his findings.

       Dr. Gowrisankaran’s testimony disagreeing with DOJ’s statements about JetBlue’s

quality cannot be explained away. Dr. Gowrisankaran’s testimony contradicting DOJ’s




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statements from the NEA Case are not explainable by “context,” by something unique about “the

field of economics,” or by resort to “the eye of the beholder.” Opp. at 13. Asked simply and

directly whether he agreed with the same statements about JetBlue’s unique quality made by

DOJ in the NEA Case, Dr. Gowrisankaran refused to agree. 5

        To be clear, and contrary to DOJ’s characterization, Opp. at 11–12, Defendants are not

moving the Court to estop Dr. Gowrisankaran himself from offering any opinions. Rather,

Defendants are asking the Court to admit as facts in this case the same facts DOJ asserted in the

NEA Case to be true less than a year ago, including that:

    •   “JetBlue differentiated itself from other low-cost airlines by offering not only low fares,
        but also high-quality service.” NEA Proposed FOF ¶ 24.

    •   “JetBlue also offered superior service to many airlines, including legacies.” Id.

    •   “JetBlue’s high quality of service allowed it to compete effectively against the legacy
        airlines in ways other LCCs and ULCCs could not.” Id. ¶ 27.

    •   “Competition from JetBlue resulted in higher-quality service offered by legacy airlines.”
        Id. ¶ 40.

    •   “The JetBlue Effect produces lower prices and higher quality service on routes where
        JetBlue competes.” Id. at 12.




5
  Instead, when presented with DOJ’s own assertions of fact, Dr. Gowrisankaran gave long-
winded, evasive answers, before finally disagreeing with them. For example, when asked if
JetBlue “differentiated itself from other low cost carriers by offering not only low fares, but also
high quality service,” Dr. Gowrisankaran discussed how “some people like the snacks on Spirit,
and some people like the snacks on JetBlue,” (Shores Reply Decl., Ex. E (Gautam
Gowrisankaran Dep. Tr. 104:17–19 (Sep. 1, 2023) (“Gowrisankaran Dep. Tr., Ex. E”)), before
finally saying: “Is JetBlue some higher quality for everybody? Well, that’s not what the record
indicates at all.” Gowrisankaran Dep. Tr., Ex. A, 110:2–4; see also Gowrisankaran Dep. Tr.,
Ex. E, 103:17–19; Gowrisankaran Dep. Tr., Ex. A, 89:9–92:15, 105:5–106:20; Gowrisankaran
Dep. Tr., Ex. A, 91:4–6 (“[A]s to whether JetBlue has differentiated itself by high quality, that’s
not something I would agree with.”).


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 II.   DOJ SHOULD BE ESTOPPED FROM ASSERTING A COORDINATION
       THEORY IN THIS CASE

       Based on the positions DOJ successfully advanced in the NEA Case, there is no plausible

coordination story left for DOJ to pursue here. In attempting to square its story between the

cases, DOJ points to the fact that, in the NEA Case, it alleged “the airline industry is

concentrated and certain aspects of the passenger airline market make it easier for airlines to

coordinate with one another.” Opp. at 9 (citing NEA Proposed FOF ¶¶ 352–68). But even in the

face of these alleged industry factors, DOJ urged the Court to find that “JetBlue historically has

behaved like a maverick in the airline industry,” “exert[ing] a particularly unique, disruptive

force on the marketplace.” NEA Post-Trial Brief at 37. The Court agreed. Am. Airlines Grp.,

2023 WL 3560430, at *34 n.81 (“The parties all agree, and the Court finds, that JetBlue has

played a unique role in the domestic air travel industry and qualifies as a ‘maverick’ competitor

for present purposes. . . . [I]t was justifiably viewed by others—and it indisputably viewed

itself—as a unique and disruptive force in the domestic air travel market.”). Put simply, DOJ

asserted—and the Court found—that JetBlue’s business model is built on disrupting other

carriers; that necessarily means JetBlue does not cooperate with them.

       DOJ also claims that “[c]oordination in the airline industry is…very real,” citing a court’s

recent finding “that domestic airlines ‘admittedly and openly’ engaged in the parallel conduct of

capacity discipline for many years ‘with the effect that diminished capacity resulted in higher

industry profits.’” Opp. at 10 (quoting In re Domestic Airline Travel Antitrust Litig., No. 15-

1404, 2023 WL 5930973, at *33 (D.D.C. Sept. 12, 2023)). DOJ fails to inform the Court,

however, that JetBlue was not a defendant in that case, which alleged a conspiracy among four

domestic airlines to coordinate and limit capacity between 2009 and mid-2015. In re Domestic

Airline Travel, 2023 WL 5930973, at *1. In fact, DOJ argued in the NEA Case that JetBlue



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acted wholly at odds with any capacity coordination, asserting that “JetBlue mitigated the effects

of capacity discipline by growing capacity” and “[b]etween 2009 and 2019, JetBlue grew more

in the Northeast in percentage terms than any other airline[.]” NEA Proposed FOF at 13, ¶ 400.

       Finally, DOJ’s assertion in the NEA Case that “an airline can tacitly coordinate pricing

decisions with competitors” through so-called “flashing” hardly indicates that JetBlue, a

disruptive industry maverick, will coordinate with other airlines on pricing in the future. Opp. at

9–10 (emphasis added) (citing NEA Proposed FOF ¶ 365). Of the millions of pricing actions

that occur in the airline industry annually, DOJ points only to a single example of JetBlue

supposedly flashing from three years ago. NEA Proposed FOF ¶ 365. That is far too thin a reed

on which to hang a coordination theory in the face of a judicial finding that JetBlue is maverick

disruptor of coordination. 6 See supra at 5 (discussing examples of JetBlue Effect).

       If anything, based on the position DOJ took in the NEA Case, the only plausible

conclusion is that JetBlue’s growth through the Spirit transaction—from 5% market share to

about 9% market share—will further disrupt the nationwide coordination in the airline industry

that DOJ now alleges to be occurring. Any suggestion that a maverick airline, with a long

history of undercutting its competitors, is now going to become a tacit or explicit co-conspirator

due to a 4% bump in market share is farcical. This runs counter to the narrative DOJ adopted in

the NEA Case and is refuted by the case law, which requires more than mere growth (in this

case, modest growth) to support such a claim. See, e.g., New York v. Deutsche Telekom AG, 439

F. Supp. 3d 179, 245 (S.D.N.Y. 2020) (“Anticompetitive results such as higher prices and lower




6
  DOJ also points to a proposed finding from the NEA where, in 2019, JetBlue lowered its prices
on certain routes where it was competing with American after American did the same on another
JetBlue route. Opp. at 10 (citing NEA Proposed FOF ¶ 364). Putting aside that this took place
four years ago, nothing about this scenario suggests anything other than competition.


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quality produced by coordinated or unilateral effects of a merger do not just ‘happen’; they are

not self-executing outcomes spontaneously set in motion upon the creation of a presumed level

of market concentration of fewer competitors, or the large market shares amassed by particular

participants.”). 7 DOJ should be estopped from pursing such a theory, and wasting the time of the

parties and the Court, after its success in persuading the Court in the NEA Case that JetBlue is a

disruptive maverick.

III.   ESTOPPEL CAN AND SHOULD APPLY BASED ON THE UNIQUE
       CIRCUMSTANCES HERE

       As DOJ agrees, “the Supreme Court has never definitively ruled out the possibility of an

estoppel against the government.” Dantran, Inc. v. U.S. Dep’t of Labor, 171 F.3d 58, 66 (1st

Cir. 1999). For estoppel to apply against the Government, a party must demonstrate “more than

negligence”—some form of “affirmative misconduct,” which means more than “careless

misstatements.” Nagle v. Acton-Boxborough Reg’l Sch. Dist., 576 F.3d 1, 5 (1st Cir. 2009).

       This case involves nothing like negligence or careless misstatements. Just one year ago,

in the same court, some of the same lawyers from the same division of DOJ took contrary

positions and convinced the Court to grant their requested relief. See New Hampshire v. Maine,

532 U.S. 742, 755 (2001) (applying estoppel based on inconsistent litigation positions). DOJ’s

attempt to “assert[] a position in one legal proceeding [] contrary to a position [] in another”

undermines the integrity of the judicial process. Patriot Cinemas, Inc. v . Gen. Cinemas Corp.,

834 F.2d 208, 212 (1st Cir. 1987). Estoppel is appropriate on the unique facts here.




7
 Indeed, DOJ has promoted growth by low-cost carriers like JetBlue through divestitures. See
Response of Plaintiff United States to Public Comments on the Proposed Final Judgment at 10–
11, United States v. US Airways Grp., Inc., No. 13-cv-01236 (D.D.C) (Mar. 10, 2014), ECF No.
159 (arguing that by providing additional slots to JetBlue, the proposed divestiture “eases some
of the most intractable barriers to LCC entry and expansion throughout the country”).


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IV.    DOJ’S PRIOR STATEMENTS IN THE NEA CASE SHOULD BE ADMITTED

       DOJ concedes that the Court can take judicial notice of its statements in the NEA Case.

Opp. at 14–15. As for DOJ’s objection to admitting those statements for the truth of the matter,

it is settled First Circuit law that DOJ is a party opponent whose briefs from prior cases can come

in as party adopted statements in a later case against DOJ. United States v. Kattar, 849 F.2d 118,

130–31 (1st Cir. 1988); see also George Blum et al., 29A Am. Jur. 2d Evidence § 833 (2008 &

2016 supp.) (“[S]tatements of government agents or employees may be introduced as substantive

evidence in civil actions as party-admissions of the United States government . . . .”). DOJ took

issue with Defendants’ not “identify[ing]” which documents or statements to admit. Opp. at 14.

In response to DOJ’s stated concern, Defendants identified them to DOJ last Friday and met and

conferred with DOJ today. While DOJ indicated no change in its legal position that none of the

statements should be admitted, Defendants and DOJ agreed to continue discussing whether, apart

from the threshold legal issue raised here, there are other objections to specific statements or

additions that would be requested for completeness.

                                         CONCLUSION


       For the foregoing reasons, the Court should grant Defendants’ Motion.



Dated: September 26, 2023                     Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that this document was filed through the ECF system on September 26,

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                                                    /s/ Ryan A. Shores
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